TMU MNO LCo TR em (Cita pak cele eer)

Debtor 1 Daniel Ramirez —
First Name Middle Name - . Last Name -
Debtor 2 Tammy Ramirez -

. (Spouse if, filing) “First Name Middle Name ‘Last Name —
‘United States Bankruptcy Court for the: DISTRICT OF NEW MEXICO

Case number - oo ; ;
tif known) OO Check if this is an
a ve eee veces Lo eteeeer ee amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12445

if you are an individual filing under chapter 7, you must fill out this form if:
lf creditors have claims secured by your property, or

Mf you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,

whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
onthe form

If two married people are filing together in a joint case, both are equally responsible for supplying correct Information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D}, fill In the
information below.

_ Identify the creditor and the property that is collateral What do you intend to do with the Property. that ‘Did you claim the property .
FR Cw ‘ securesadebt? <2. as exempt on Schedule C?
Creditors LoanCare LLC D1 Surrender the property. ey
name: E Retain the property and redeem it.
_ C Retain the property and enter into a Yes
Description of 14418 W Alameda Roswell, NM Reaffirmation Agreement.
property 88203 Chaves County @ Retain the property and [explain]:

securing debt: _ Retain & Pay

List Your Unexpired Personal Property Leases.

For any unexpired personal property lease that you listed in Schedule G: Executory Contr Contracts and Unexpired Leases (Official Form 406G), fill”
in the Infermation below. Do not list real estate leases. Unexpired leases are leases that are silll in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)}(2).

Describe your unexpired personal property leases “> AMI the lease be assumed?
Lessors name: O No

Description of leased

Property: O Yes

Lessor's name: O No

Description of leased

Property: O Yes

Lessor's name:

Official Form 108 Statement of Intention for Individuals Fillng Under Chapter 7 page 1

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Debtor1 Daniel Ramirez

 
   
  
 

Debtor 2 Tammy Ramirez a — _ Case number (if known}

Description of teased O No

Property:

O Yes

Lessor's name: OO No

Description of leased

Property: O Yes

Lessor's name: O No

Description of leased

Property: OO Yes

Lessor's name: CO No

Description of leased

Property: ves

Lessor's name: O Ne

Description of leased

Property: O Yes
SignBelow wf can ee oe
Under penalty of perjury, | indicated my intention about any property of my estate that secures a debt and any personal

  

property that is subject
x

Daniel Ramirez,
Signature of Debtor 1

oe gt at

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

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